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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION


  CRYSTAL BOLDUC,

                Plaintiff,
                                            Civil Action No. 4:22-cv-615-ALM
       vs.

  AMAZON.COM INC.,

                Defendant.



         DEFENDANT AMAZON.COM, INC.’S RULE 12(B)(1) AND 12(B)(6)
            MOTION TO DISMISS SECOND AMENDED COMPLAINT
               AND MEMORANDUM IN SUPPORT THEREOF




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          Defendant Amazon.com, Inc. (“Amazon”) respectfully moves the Court to dismiss

 Plaintiff’s Second Amended Class-Action Complaint (“SAC” or “Complaint”) (Dkt. 15) pursuant

 to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6).

                                        INTRODUCTION

          To deliver packages in the communities it serves, Amazon partners with local businesses—

 called Delivery Service Partners, or DSPs—whose owners are responsible for hiring, training, and

 retaining a team of employee-drivers and managing a fleet of delivery vans. To be offered a DSP

 contract, individuals must (among other things) submit an application, meet certain eligibility

 requirements, pass an extensive interview and screening process, and be willing to operate their

 business in an area where Amazon needs additional capacity. Amazon’s eligibility requirements

 are race-neutral and an applicant’s race or ethnicity plays no role whatsoever in Amazon’s process

 for selecting DSPs.1 Amazon does, however, try to promote diversity within its DSP ranks by

 offering a $10,000 grant to new DSP owners who opt in and identify as members of certain

 minority groups.

          In this lawsuit, Plaintiff Crystal Bolduc (“Plaintiff” or “Bolduc”) alleges that Amazon’s

 DSP diversity grant program violates 42 U.S.C. § 1981 by discriminating against white and Asian-

 American DSP owners on the basis of their race. Based on her own allegations, however, Plaintiff

 is not a DSP owner and has never even applied to become one. SAC ¶¶ 20, 41. Plaintiff therefore

 lacks Article III standing, because she cannot show an actual or imminent injury arising from the

 fact that Amazon offers a diversity grant to some DSP owners but not others. Indeed, Plaintiff’s

 § 1981 claim is the epitome of an abstract and generalized grievance by a member of the general

 population about an internal corporate program that has no actual effect on her.



    1
        See Declaration of Shereef John Mikhail (“Mikhail Decl.”), Ex. A, ¶ 12.


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        Plaintiff attempts to plead the existence of an injury-in-fact by alleging that she “wishes to

 participate in Amazon’s delivery service partner program,” and that she would be “‘able and ready

 to apply’” to become a DSP owner if Amazon’s grant program were changed or eliminated. SAC

 ¶ 20 (quoting Carney v. Adams, 141 S. Ct. 493, 499–500 (2020), and Gratz v. Bollinger, 539 U.S.

 244, 261 (2003)). Those allegations are irrelevant because Plaintiff’s claim is not premised on

 racial preferences in the DSP application process itself, and Plaintiff does not, and cannot, allege

 that she is on unequal footing because of her race (or otherwise) in competing to become a DSP

 owner. The relevant inquiry here is whether Plaintiff has alleged facts showing that she was

 affected by the alleged unequal treatment of some DSP owners versus other DSP owners when she

 indisputably is not a DSP owner. Plaintiff cannot allege such facts, of course, because the DSP

 diversity grant program is not open to the general public, but rather only to DSP owners, which

 Plaintiff is not and has never applied to be.

        Moreover, even if it were true that Plaintiff meets the base qualifications for the DSP

 program and would be a “strong candidate” (as she contends), the prospect of her actually being

 selected as a DSP owner would still depend on an attenuated and highly uncertain chain of events.

 Indeed, the DSP application process is so rigorous and highly selective that since 2021 less than

 3% of applicants were accepted into the program. Even if Plaintiff made it all the way through

 the application and interview process, she may still only be admitted into the DSP program if, at

 that time, Amazon has an opening in the geographic area she selects. Having voluntarily chosen

 not to apply at all, Plaintiff cannot plausibly plead that she is imminently likely to become a DSP

 owner, and unless and until that happens, she cannot plausibly be suffering any actual or imminent

 injury from the DSP grant program. She is not entitled to an advisory opinion on the validity of




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 the DSP grant program based on the hypothetical possibility that she might, one day, be in the

 position to receive a DSP contract.

         For similar reasons, Plaintiff’s Complaint should be dismissed also for failure to state a

 claim. Even if the Article III standing jurisprudence were expanded in the way Plaintiff seeks,

 § 1981 still requires that her race be the but-for cause of her failure to receive a DSP diversity

 grant. Because she admits she is not a DSP owner, she is per se ineligible for the diversity grant,

 regardless of race. The but-for cause of her inability to obtain a grant given to certain DSP owners

 is that she is not a DSP owner in the first place. She admits that she has not applied to become a

 DSP owner, and it remains purely speculative as to whether she would ever be offered a contract.

 Under the case law, that is fatal to her claim.

         For each of the foregoing independent reasons, Plaintiff’s Complaint should be dismissed.

 Further, because Plaintiff has already had multiple opportunities to amend and has no ability to

 cure these defects, the Complaint should be dismissed with prejudice.

                                     STATEMENT OF ISSUES

      1. Does the Court lack subject-matter jurisdiction over Plaintiff’s claim for violation of
         42 U.S.C. § 1981 due to Plaintiff’s lack of standing?

      2. Does Plaintiff’s Complaint contain sufficient facts to state a claim for violation of 42
         U.S.C. § 1981 against Amazon?

                                          BACKGROUND

 I.      Facts and Allegations Pleaded in the Complaint

         On July 20, 2022, Plaintiff filed a Class-Action Complaint (Dkt. 1) (hereinafter “OC”)

 against Amazon, and she has since amended her complaint twice. On December 15, 2022, Plaintiff

 filed her First Amended Class-Action Complaint (Dkt. 8) (hereinafter “FAC”), and on February

 21, 2023, Plaintiff filed her Second Amended Class-Action Complaint (Dkt. 15) (hereinafter

 “Complaint” or “SAC”). The theory of liability in each is the same—that Amazon has allegedly


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 engaged in racial discrimination in violation of 42 U.S.C. § 1981 by providing “a $10,000 bonus

 to ‘Black, Latinx, and Native American entrepreneurs’ who participate [in Amazon’s] delivery-

 service-partners programs, while withholding this stipend from Asian-Americans and whites who

 own DSP businesses.” OC at 1, ¶¶ 7, 25; FAC at 1, ¶¶ 8, 35; SAC at 1, ¶¶ 8, 54.

        The main differences in the complaints pertain to Plaintiff’s standing allegations.2 The

 original complaint contained only a conclusory allegation that Plaintiff was “able and ready to

 apply” for the DSP program, without any supporting, much less plausible, factual allegations. OC

 ¶ 18. The First Amended Complaint contained some further allegations about her personal

 experience and alleged interest in becoming a DSP owner. FAC ¶¶ 20-21. In response to

 Amazon’s Motion to Dismiss filed on January 31, 2023, Plaintiff amended yet again, and now the

 Complaint presumably contains all factual allegations and theories that Plaintiff could muster in

 support of her alleged right to bring this suit. Those allegations include the following (among

 others discussed further below):

            Plaintiff “wishes to participate in Amazon’s delivery-service partner
            program” (SAC ¶ 20);

            Plaintiff is “able and ready to apply” to become a DSP (id. ¶ 20; see also id.
            ¶¶ 21-22);

            Plaintiff “has already started the online application process,” which
            “remains active,” and has “gathered all of the financial and background
            information needed for the application” (id. ¶ 25);

            Plaintiff “meets each of the threshold eligibility requirements for an
            Amazon delivery service partner” (id. ¶ 27);

            Plaintiff “is an exceptionally strong candidate for the delivery-service-
            partner program” based on personal history and experience (id ¶ 29; see also
            id. ¶¶ 30-37);



    2
      Plaintiff has amended her class action allegations also, although those allegations too remain
 defective for the reasons stated in Amazon’s concurrently filed motion to strike.


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            Plaintiff is “white” and therefore “ineligible for the $10,000 stipend that
            Amazon awards to blacks, Latinos, and Native Americans” (id. ¶ 39); and

            Plaintiff “cannot apply to the DSP Program or have her company become
            an Amazon delivery service partner without subjecting herself to racial
            discrimination” (id. ¶ 40).

        However, Plaintiff also represents that she “will not apply to the Amazon delivery-service-

 partner program until” Amazon eliminates its allegedly discriminatory policy, “either by extending

 its $10,000 benefit to whites and Asians or curtailing or eliminating the benefit entirely.” Id. ¶ 41

 (emphasis added). Despite her refusal to apply to become a DSP owner, Plaintiff acknowledges

 more than once that being a DSP owner (not just a DSP applicant) is a threshold requirement for

 receiving the grant. See id. at 1 (alleging that the grant is provided to individuals “who own DSP

 businesses”); id. ¶ 57(b) (seeking a remedy on the ground that Amazon’s DSP grant is available

 to only “black, Latino, and Native American contractors in its delivery-service partners program”)

 (emphasis added).

 II.    Additional Facts Relevant to Standing

        Amazon’s DSP Program was created in 2018. Mikhail Decl., Ex. A, ¶ 3. The DSP Program

 provides an opportunity for people who are looking to own and operate a full-time package-

 delivery business, have experience hiring and coaching teams, and are comfortable in a fast-paced,

 ever-changing environment.         See Exhibit B, Frequently Asked Questions, Amazon,

 https://logistics.amazon.com/marketing/faq (last visited Mar. 23, 2023) (hereinafter “Ex. B”)

 (Program details – What should I consider before applying to Amazon’s Delivery Service (DSP)

 program?).3


 3
   The description of and requirements for the DSP program are set forth in responses to Frequently
 Asked Questions on Amazon’s publicly available website, https://logistics.amazon.com. The
 Complaint incorporates that website by reference, including by providing the website link and
 attaching portions of it as an exhibit. SAC ¶ 7 & Ex. 1, at 3. The Court thus can and should take
 judicial notice of and consider the FAQs, and related linked resources, for purposes of a facial


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        The application process is lenthly, competitive, and highly selective. Mikhail Decl., Ex.

 A, ¶ 4. Individuals who wish to become DSP owners must be able recruit, hire, and coach a team

 of high-performing hourly employees, manage a fleet of delivery vehicles, and adapt to demand

 throughout the year. See Exhibit C, Frequently Asked Questions (Program Brochure available

 under heading: Financials – How much start-up capital is required and are there any unexpected

 costs I should account for?) (hereinafter “Ex. C”). In 2021, Amazon received about 21,000 DSP

 applications and accepted only about 650 applicants into the DSP Program, an acceptance rate of

 about 3%. Mikhail Decl., Ex. A, ¶ 4. Likewise, in 2022, Amazon received about 12,000 DSP

 applications and accepted only about 190 applicants into the DSP Program, an acceptance rate of

 about 1.6%. Id.

        Amazon does not consider, much less provide preferential treatment based on, race or any

 other protected classification in determining whom to accept as a DSP owner. Id. ¶ 12. To apply

 to become a DSP owner, an individual must first submit an online application that provides

 information about previous work experience, leadership experience, financial health, and

 community involvement. See Ex. B (Application process – What are the steps involved in

 completing the application?). For example, in its Tips for the Amazon Delivery Service Partner

 document, Amazon recommends that candidates update their resumes to include and be prepared

 to address management experience and the size of the teams managed; experience managing a

 P&L statement or budget; experience recruiting, hiring, and on-boarding employees; and

 information about past promotions, successes with internal or external customers, and leadership



 attack on the pleadings. See Funk v. Stryker Corp., 631 F.3d 777, 783 (5th Cir. 2011). In addition,
 the Declaration of Shereef John Mikhail authenticates the FAQs, and related linked resources, and
 confirms that they accurately identify the requirements and application process for becoming a
 DSP owner. See Mikhail Decl., Ex. A, ¶ 5. Alternatively, the Court should consider the additional
 facts regarding the DSP application process as a part of a factual challenge to Plaintiff’s standing.


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 in the community and how applicants might engage community connections to support their hiring

 plans. Exhibit D, Frequently Asked Questions (Tip Sheet available under heading: Application

 Process – What screening criteria do you use in selecting DSP candidates?) (hereinafter “Ex. D”).

 The online application also requires the selection of the applicants’ preferred geographic location

 where they would seek to operate as DSP owners if ultimately selected. Mikhail Decl., Ex. A,

 ¶ 6. In addition to the application, an individual must provide documentation demonstrating access

 to $30,000 in liquid assets, as well as pass a credit check, background screening, and motor vehicle

 record check. Ex. B (Application process – What screening criteria do you use in selecting DSP

 candidates?); see also Ex. D.

        Those are simply the baseline, threshold requirements that one must satisfy to be

 considered for the DSP program. See Ex. D. Even if an applicant satisfies those requirements,

 there are still several hurdles to becoming a DSP owner. If selected to progress for further

 consideration, the applicant will be required to participate in a screening interview, and then a final

 round of interviews, where individuals will be required to submit business plans. Mikhail Decl.,

 Ex. A, ¶ 8. If an applicant successfully makes it through the final round of interviews, then the

 applicant will have the opportunity to discuss location and financials before a final decision is

 made. Id. ¶ 9. If the applicant selected a geographic preference in which Amazon has an opening,

 then the applicant will be given an offer to become a DSP owner. Id. ¶ 10. However, if the

 applicant selected a geographic preference in which Amazon does not have an opening, the

 applicant will be asked to join the Future DSP program, until an opening becomes available, and

 an offer can be made to become a DSP owner. Id. ¶ 12. Acceptance into the Future DSP program

 does not guarantee an applicant will become a DSP owner; some participants in the Future DSP

 program may never become DSP owners. Id.




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          In August 2020, Amazon launched the diversity grant program, which is one of several

 assistance programs that Amazon offers DSP owners.4 The diversity grant program is for DSP

 owners only and provides a monetary stipend of $10,000 to eligible Black/African American,

 Hispanic/Latinx, and/or Native American/Indigenous DSP owners. Id. ¶¶ 13, 15. Since the grant

 is provided to DSP owners, rather than to applicants, the $10,000 stipend has no effect on the

 application process for becoming a DSP owner and cannot be used to supplement and/or replace

 an applicant’s requirement to prove access to $30,000 in liquid assets during the application

 process. Id. ¶ 17. Rather, the grant is provided to eligible DSP owners to assist them with start-

 up costs associated with launching a small business only after they have first become DSP owners.

 Id. ¶ 18. Further, applicants who are asked to join the Future DSP program are ineligible for the

 grant program until and unless they actually launch as DSP owners. Id.

                              ARGUMENTS AND AUTHORITIES

 I.       The Complaint Should be Dismissed for Lack of Subject Matter Jurisdiction
          Because Plaintiff Lacks Standing.

          A.     Legal Standards for Rule 12(b)(1) Dismissal for Lack of Standing.

          A complaint must be dismissed for lack of subject matter jurisdiction under Rule 12(b)(1)

 “when the court lacks the statutory or constitutional power to adjudicate the case.” Home Builders

 Ass’n of Miss., Inc. v. City of Madison, Miss., 143 F.3d 1006, 1010 (5th Cir. 1998). For subject

 matter jurisdiction to exist under Article III of the Constitution, a plaintiff in federal court must

 establish standing to bring each proposed cause of action. Lujan v. Defs. of Wildlife, 504 U.S. 555,

 560–61 (1992); Xerox Corp. v. Genmoora Corp., 888 F.2d 345, 350 (5th Cir. 1989) (noting that


      4
       For example, in 2020, Amazon implemented the Veteran’s grant program which provided
 $10,000 grants to veterans who became DSP owners. Mikhail Decl., Ex. A, at ¶ 14. Further, in
 2022, Amazon created the Road to Ownership Program which provides $30,000 grants to eligible
 employees of DSPs who are selected for and successfully complete the Road to Ownership
 Program and become DSP owners. Id. at ¶ 16.


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 standing is a required element of subject matter jurisdiction and is therefore properly challenged

 on a Rule 12(b)(1) motion to dismiss). The party asserting jurisdiction bears the burden of proving

 it. Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001). “When a Rule 12(b)(1) motion

 is filed in conjunction with other Rule 12 motions, the court should consider the 12(b)(1)

 jurisdictional attack before addressing any attack on the merits.” Palmer v. Paxton, No. 4:15-CV-

 00657-ALM-CAN, 2016 WL 11472825, at *5 (E.D. Tex. Aug. 25, 2016), report and

 recommendation adopted, No. 4:15-CV-657, 2016 WL 5422793 (E.D. Tex. Sept. 29, 2016)

 (quoting Ramming, 281 F.3d at 161).

         To satisfy standing under Article III, a plaintiff must have (1) suffered an injury-in-fact

 (2) that is fairly traceable to the challenged conduct of the defendant and (3) that is likely to be

 redressed by a favorable judicial decision. Lujan, 504 U.S. at 560–61. To show injury-in-fact, a

 plaintiff must allege “an invasion of a legally protected interest” that is “concrete and

 particularized” and “actual or imminent, not conjectural or hypothetical.” Id. 560. “[A] grievance

 that amounts to nothing more than an abstract and generalized harm to a citizen’s interest in the

 proper application of the law” is insufficient. Carney v. Adams, 141 S. Ct. 493, 498 (2020). Thus,

 a plaintiff must be “sufficiently differentiated . . . from a general population of individuals affected

 in the abstract” by the policies or practices at issue. Id. at 502.

         A defendant may bring either a facial or factual attack under Rule 12(b)(1) to challenge a

 plaintiff’s lack of standing. Menchaca v. Chrysler Credit Corp., 613 F.2d 507, 511 (5th Cir. 1980).

 A facial attack is based on the sufficiency of the plaintiff’s pleadings, while a factual attack allows

 the Court to consider whether there are facts outside of the pleadings defeating standing. Id.

         Because a facial attack is based on the pleadings, courts analyze it under the same standards

 applicable to Rule 12(b)(6) motions. Gaylor v. Inland Am. McKinney Towne Crossing LP, LLC,




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 No. 4:13-CV-307, 2014 WL 1912388, at *2 (E.D. Tex. May 13, 2014) (granting motion to dismiss

 facial attack under Rule 12(b)(1)). The court accepts as true plausible factual allegations but need

 not accept legal conclusions or bare assertions. Id.; see also Liverman v. McMurray, No. 7:19-

 CV-00062-DC-RCG, 2019 WL 11660803, at *3 (W.D. Tex. Oct. 4, 2019), report and

 recommendation adopted, No. MO:19-CV-00062-DC, 2019 WL 11660802 (W.D. Tex. Oct. 25,

 2019) (conclusory statements about injury are insufficient to establish standing). In addition, the

 court may consider matters that are subject to judicial notice and/or incorporated by reference into

 the complaint—here, portions of Amazon’s publicly available website describing the DSP

 program and its requirements. See Funk, 631 F.3d at 783; supra note 3.5

         Under a factual attack, the defendant may submit “affidavits, testimony, or other

 evidentiary materials,” and the plaintiff is similarly required to submit facts proving standing.

 Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir. 1981).               In a factual challenge, “no

 presumptive truthfulness attaches to the [plaintiff’s] jurisdictional allegations, and the court is free

 to weigh the evidence and satisfy itself as to the existence of its power to hear the case.” Evans v.

 Tubbe, 657 F.2d 661, 663 (5th Cir. 1981).

         Here, the Complaint can survive neither a facial nor a factual attack. The Court can and

 should conclude based on the pleadings and matters subject to judicial notice that Plaintiff lacks

 standing to pursue her claims. In the alternative, the Court may look at the factual evidence outside




     5
       See also, e.g., In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007)
 (permitting on motion to dismiss consideration of documents that “were referred to in the
 complaints” and were “central” to the claims at issue); 5B Charles Alan Wright & Arthur R. Miller,
 Federal Practice and Procedure § 1357 (3d ed. 2004) (explaining that even under Rule 12(b)(6)
 standards, “[n]umerous cases . . . have allowed consideration of matters incorporated by reference
 or integral to the claim, items subject to judicial notice and exhibits attached to the complaint
 whose authenticity is unquestioned; these items may be considered by the district judge without
 converting the motion into one for summary judgment”).


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 the pleadings and reach the same conclusion. See Rhodes v. U.S. Office of Special Counsel, No.

 3:05-CV-2402-K (BH), 2008 WL 2330576, at *3 (N.D. Tex. May 22, 2008), report and

 recommendation adopted, No. 3:05-CV-2402-K, 2008 WL 2330573 (N.D. Tex. June 3, 2008),

 aff’d, 303 F. App’x. 219 (5th Cir. 2008) (dismissing claims for lack of standing under facial and

 factual attacks).

         B.      Plaintiff Lacks Standing to Challenge Amazon’s DSP Diversity Grant
                 Program.

         Plaintiff lacks standing because she does not, and cannot, plead facts demonstrating that

 she has suffered an injury-in-fact that is fairly traceable to Amazon’s allegedly unequal treatment

 of DSP owners. Lujan, 504 U.S. at 560–61. Plaintiff attempts to manufacture an injury by alleging

 that she “wishes to participate in Amazon’s delivery-service-partner program” and is “‘able and

 ready to apply.’” SAC ¶ 20 (quoting Carney, 141 S. Ct. at 499–500, and Gratz, 539 U.S. at 261).

 But Plaintiff’s claims are not premised on any racial preference in the DSP application process.

 Instead, Plaintiff’s complaint alleges discrimination as between people who are already DSP

 owners. Because she is not a DSP owner, she is not within the affected population and lacks

 standing. SAC ¶¶ 20, 41.

         While Plaintiff asserts confidence that she “would be accepted into the program if she were

 to complete the application and interview process,” id. ¶ 29, the Court can disregard such

 speculative predictions about the future even on a facial challenge. Given Amazon’s rigorous,

 multi-step process for selecting DSPs, Plaintiff cannot plausibly plead that it is either likely or

 imminent that she would be accepted to the program—a necessary precondition to receiving any

 grant—particularly when she has voluntarily chosen not to apply. It is notable that Plaintiff is

 unwilling to invest her time into the application process to become a DSP owner and yet is willing

 to invest her time and money into a lawsuit to litigate a grant program offered only to DSP owners.



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 That position runs contrary to the principles of standing, and her attempts to excuse her voluntary

 refusal to apply and otherwise to assert a “present-day injury” (id. ¶¶ 40, 42) likewise fail.

                1.      Because Plaintiff Is Not a DSP Owner, She Is Unaffected By a
                        Grant That Amazon Gives Some DSP Owners But Not Others.

        The Fifth Circuit’s decision in Pederson v. Louisiana State University, 213 F.3d 858 (5th

 Cir. 2000), provides a helpful roadmap as to when the “able and ready” standard applies, and why

 Plaintiff’s “able and ready” allegations are immaterial. There, female students who played club

 soccer sued their university alleging (1) failure to accommodate under Title IX by failing to field

 a varsity women’s soccer team, and (2) unequal treatment between female and male varsity athletes

 in the allocation of scholarships and other benefits. Id. at 870–72. The Court found that the club

 soccer players had standing to assert the first claim but not the second. The Court’s reasoning

 demonstrates why Plaintiff lacks standing here.

        As to the failure-to-accommodate claim, the Court applied the “able and ready” standard,

 analogizing to equal protection cases involving set-aside programs where “the ‘injury in fact’ is

 the inability to compete on an equal footing in the bidding process.” Id. at 871 (quoting Ne. Florida

 Chapter of Associated Gen. Contractors of Am. v. City of Jacksonville, Fla., 508 U.S. 656, 668

 (1993)). The Court found that the students had standing for that claim because “the injury here

 results from the imposed barrier—the absence of a varsity team for a position on which a female

 student should be allowed to try out.” Id.

        Nonetheless, the students lacked standing to claim unequal treatment of female versus male

 varsity athletes because they were not actually within the affected group, i.e., they were not varsity

 athletes. Id. at 872. “‘The treatment of participants in female varsity athletics has not impacted

 plaintiffs as they have not been female varsity athletes and therefore have not been discriminated




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 against by any alleged treatment of LSU’s female varsity athletes; therefore a change in said

 treatment would not impact plaintiffs.’” Id. n.14 (quoting with approval district court’s reasoning).

        Just like the claim of unequal treatment of varsity athletes in Pederson, Plaintiff alleges the

 unequal treatment of some DSP owners compared to others based on race. The gravamen of the

 complaint is Plaintiff’s inability to obtain the grant—not a barrier in the DSP application process

 (which is race-neutral). Yet, as demonstrated by Plaintiff’s own allegations, the only population

 of people who are potentially eligible for the grants are DSP owners. SAC ¶ 8. Because Plaintiff

 is not a DSP owner, she cannot have been affected by the challenged conduct and cannot now

 plead an injury-in-fact sufficient to establish standing.

                2.      Because Plaintiff Has Voluntarily Chosen Not to Apply For a
                        DSP Contract, Any Potential Injury is Not Actual or Imminent
                        and Would Require a Series of Hypothetical Events to Occur.

        Even if there were a situation wherein a hypothetical DSP applicant could articulate some

 injury-in-fact as a result of the DSP diversity grant program, the alleged injury in this case is far

 too remote and would require a radical expansion of standing jurisprudence. The Supreme Court

 has consistently held that an injury-in-fact must be actual or imminent. Carney, 141 S. Ct. at 498;

 Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 211 (1995); Ne. Florida Chapter, 508 U.S. at

 663; Lujan, 504 U.S. at 560. Although Plaintiff alleges that she would be a “strong candidate” if

 she applied, she has chosen not to apply, and the possibility that she would ultimately become a

 DSP owner (as a precondition for receiving any grant) depends on a highly attenuated series of

 hypothetical events. Accordingly, even if there were DSP applicants who progressed far enough

 in the application process to allege an imminent injury, Plaintiff is not one of them.

        As the Supreme Court has explained, the concept of imminent injury is “stretched beyond

 the breaking point” when the potential injury would only occur at some point in the future, “and

 the acts necessary to make the injury happen are at least partly within the plaintiff’s own control.”


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 Lujan, 504 U.S. at 564 n.2. “In such circumstances, we have insisted that the injury proceed with

 a high degree of immediacy, so as to reduce the possibility of deciding a case in which no injury

 would have occurred at all.” Id. Consistent with this principle, courts have explained that, “if a

 plaintiff is required to meet a precondition or follow a certain procedure to engage in an activity

 or enjoy a benefit and fails to attempt to do so, that plaintiff lacks standing to sue because he or

 she should have at least taken steps to attempt to satisfy the precondition.” Pucket v. Hot Springs

 Sch. Dist. No. 23-2, 526 F.3d 1151, 1161 (8th Cir. 2008); see also Ellison v. Am. Bd. of

 Orthopaedic Surgery, 11 F.4th 200, 202–03, 207 (3d Cir. 2021) (holding that doctor lacked

 standing to challenge policy for granting hospital staffing privileges, where doctor had not yet

 taken the “specific steps that would otherwise position him to practice at those hospitals, such as

 obtaining a license to practice medicine in New Jersey”).

        Indeed, courts have held in numerous other contexts that a plaintiff cannot show an actual

 or imminent injury where an attenuated chain of events would need to occur before the plaintiff

 would be affected. See Warth v. Seldin, 422 U.S. 490, 504–08 (1975) (plaintiffs lacked standing

 to challenge a town’s exclusionary zoning practice where, despite their alleged desire to live in the

 town, they failed to plead facts showing “a substantial probability” that they would have been able

 to buy or lease a house, absent the challenged practices); Attala Cnty., Miss. Branch of NAACP v.

 Evans, 37 F.4th 1038, 1044 (5th Cir. 2022) (plaintiffs lacked standing for prospective challenge to

 district attorney’s alleged practice of excluding black jurors because given “the combination of

 events that must occur before there would be an injury,” where plaintiff had not yet been called

 for jury service in a case before that same district attorney); Gohmert v. Pence, 510 F. Supp. 3d

 435, 441 (E.D. Tex. 2021), aff’d, 832 Fed. App’x. 349 (5th Cir. 2021) (plaintiff lacked standing

 because his “alleged injury requires a series of hypothetical—but by no means certain—events”);




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 Prestage Farms, Inc. v. Bd. of Supervisors of Noxubee Cnty., 205 F.3d 265, 268 (5th Cir. 2000)

 (dismissing claim where the “injury from th[e] ordinance depend[ed] on the occurrence of a

 number of uncertain events”); Trinity Indus., Inc. v. Martin, , 963 F.2d 795, 799 (5th Cir. 1992)

 (“The possibility, that maybe, in the future, if a series of events occur, [the plaintiff] . . . might

 suffer some injury is clearly too impalpable to satisfy the requirements of Art. III.” (cleaned up));

 Goberman v. Cascos, No. 3:16-CV-0994-G (BH), 2016 WL 3688604, at *1 (N.D. Tex. June 12,

 2016) (plaintiff lacked standing because he had neither registered to vote nor filed an application

 to run for public office and therefore “predicting [his] future injury is not just highly speculative,

 [its] not possible”).

         Here, as explained above, the critical precondition for receiving any grant is becoming a

 DSP owner. Thus, for Plaintiff’s alleged injury to occur, not only would she have to complete the

 online application and meet the minimum threshold requirements of the DSP application process,

 but she would need to pass a screening interview, prepare and submit a business plan, and then

 pass a final round of interviews. She would have also needed to have selected a geographic

 preference in her application in an area where Amazon needs additional capacity. As shown above,

 the selection process is rigorous; in 2022 alone, Amazon accepted only about 190 out of 12,000

 applications for the DSP Program—an acceptance rate of around 1.6%. Mikhail Decl., Ex. A, ¶

 4. And again, it is only after an offer to become a DSP owner is made and accepted that the DSP

 owner can become eligible to receive a grant.

         Even if the Court accepts as true Plaintiff’s allegations that she meets the minimum

 threshold requirements and would make a “strong candidate,” Plaintiff cannot factually allege that

 she would succeed during the interview stages. To the contrary, she has not completed even the

 first step in that process. Although Plaintiff confidently asserts that she “would be accepted into




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 the program if she were to complete the application and interview process” (SAC ¶ 29), such bare

 assertions and conclusory speculations about the future are not accepted as true, even on a motion

 to dismiss. See Bruni v. Hughs, 468 F. Supp. 3d 817, 824 (S.D. Tex. 2020) (“At the pleading stage,

 when considering any chain of allegations for standing purposes, the Court may reject as overly

 speculative those links which are predictions of future events.” (internal quotation marks

 omitted)).6

        Similarly, it is purely speculative as to whether there would be openings in an appropriate

 location for her to receive and accept an offer for a DSP contract. Plaintiff does not allege openings

 in the area where she resides, and so even if she were to complete the application process and

 succeed during the interview process, she at most would be asked to join the Future DSP program,

 which still would not guarantee that she would ever become a DSP owner. Mikhail Decl., Ex. A,

 ¶ 11. Plaintiff’s only allegations on this issue are that she would be “open” to “any location” and

 that she was “intrigued” about an opening in Fort Worth posted in 2021 (two years ago). Even

 under the “able and ready” case law, these “words of general intent” are insufficient, Carney, 141

 S. Ct. at 501, as they show neither that Amazon would be willing to offer her a position in a location

 to which she has no connection, or that she in fact would be able and ready to move to and start a

 business in that new city or state.




    6
       See also Arpaio v. Obama, 797 F.3d 11, 21 (D.C. Cir. 2015) (“[W]e treat allegations that are
 really predictions differently. When considering any chain of allegations for standing purposes,
 we may reject as overly speculative those links which are predictions of future events (especially
 future actions to be taken by third parties), as well as predictions of future injury that are not
 normally susceptible of labelling as true or false.” (internal quotation marks and citations
 omitted)); Hutchinson v. Pfeil, 211 F.3d 515, 521 (10th Cir. 2000) (similar); Sea Shore Corp. v.
 Sullivan, 158 F.3d 51, 56 (1st Cir. 1998) (similar); Hyosung TNS Inc. v. Int’l Trade Comm’n, 926
 F.3d 1353, 1358 (Fed. Cir. 2019) (similar).


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        Indeed, even if this case were viewed through the “able and ready” lens, the relevant

 inquiry is not whether Plaintiff is positioned to apply to be a DSP owner; it is whether she meets

 the preconditions for receiving the grant but for her race. She is not and will not be “able and

 ready” to receive the grant unless she first meets the preconditions of passing through the (race-

 neutral) DSP selection process and otherwise completing all steps necessary to position herself for

 a DSP contract offer. See Pucket, 526 F.3d at 1161; Ellison, 11 F.4th at 202–03, 207.

        Under the circumstances, there is no “immediacy” to Plaintiff even becoming a DSP owner.

 Lujan, 504 U.S. at 564 n.2. There is thus no imminent risk of Plaintiff being denied a grant due to

 her race. The Court is thus faced with the undeniable “possibility of deciding a case in which no

 injury would have occurred at all.” Id.; see also Carney, 141 S. Ct. at 501 (rejecting theory of

 standing that would “significantly weaken the longstanding legal doctrine preventing [the] Court

 from providing advisory opinions at the request of one who, without other concrete injury, believes

 that the [defendant] is not following the law”).

                3.      Plaintiff’s Attempts to Manufacture a “Present-Day Injury”
                        Fail.

        Plaintiff tries to plead around the fact that she is not and imminently will not be a DSP

 owner by arguing various ways in which she is purportedly suffering a “present-day injury” in

 fact. SAC ¶¶ 40, 42. Those arguments fail.

        Plaintiff cannot excuse her own voluntary decision not to apply. Plaintiff contends that

 she is injured because she wants to apply to be a DSP owner, but is “unwilling” or “cannot apply”

 if doing so would subject her to racial discrimination, and that she wants a ruling on the program’s

 validity “before she invests additional time and money” into the process. SAC ¶¶ 40(2), (5); 42.

 In other words, there is nothing actually preventing her from applying. But she wants this Court

 to invest its time and the taxpayers’ money into issuing an advisory opinion on the diversity grant



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 program—and she is willing to invest time and money into a lawsuit to litigate that issue—before

 she invests her time into an application process that, if unsuccessful, would eliminate her interest

 in the dispute. The Court should reject such a radical attempt to circumvent the law of standing.

        “In order to satisfy the standing requirement of an ‘actual or imminent’ injury, a plaintiff

 generally must submit to the challenged policy before pursuing an action to dispute it.” Davis v.

 Tarrant County, 565 F.3d 214 (5th Cir. 2009) ((citing Moose Lodge No. 107 v. Irvis, 407 U.S. 163,

 166-71 (1972), for the proposition that a “plaintiff who had never applied for membership lacked

 standing to challenge fraternal organization’s discriminatory membership policies”); Grant ex rel.

 Family Eldercare v. Gilbert, 324 F.3d 383, 388 (5th Cir. 2003) (plaintiff lacked standing to

 challenge Medicaid waiver policy because he failed to apply for waiver services); Madsen v. Boise

 State Univ., 976 F.2d 1219, 1220 (9th Cir. 1992) (cited in Davis for the proposition that a “plaintiff

 lacks standing to challenge a rule or policy to which he has not submitted himself by actually

 applying for the desired benefit”); Albuquerque Indian Rights v. Lujan, 930 F.2d 49, 56–57 (D.C.

 Cir. 1992) (plaintiff members lacked standing when they were qualified but “entirely removed

 themselves from consideration by not applying” which is different “from those in which the courts

 have framed plaintiff’s injury as the loss of an opportunity to compete”). True, courts will excuse

 this requirement where a policy would make the exercise “futile.” Davis, 565 F.3d at 220. But

 Plaintiff does not allege that applying for the DSP program would be futile; to the contrary, she

 alleges that she would be a strong candidate.

        Under these circumstances, if Plaintiff is truly interested in becoming a DSP owner, then

 she needs to pursue the application process (in which she will compete on equal footing with other




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 candidates without regard to her race). Until then, she remains too far removed from the

 challenged practice to enjoy Article III standing.7

        Plaintiff cannot claim start-up costs as a “present-day injury.” Plaintiff also asserts

 that she presently is injured because she “must pay $10,000 more to start a delivery-service-partner

 business.” SAC ¶ 40(1). However, on the face of the Complaint, Plaintiff has no start-up costs at

 the present day and will not need to incur any start-up costs until she receives an offer to join the

 DSP program. In this respect, her allegation about incurring start-up costs is indistinguishable

 from her allegation that she would not be eligible for a DSP grant. Both are contingent on her

 actually becoming a DSP owner. Because she is not a DSP owner nor imminently about to become

 one, the speculative possibility that in the future she may need to incur start-up costs without offset

 from the grant is insufficient to show a present-day injury in fact.

        Plaintiff cannot plausibly allege any competitive disadvantage in the application

 process itself. Plaintiff also alleges the diversity grant purportedly puts her “at a competitive

 disadvantage in the application process” because Amazon’s DSP diversity grant “draw[s] in

 minority applicants who would otherwise sit out or pursue other career opportunities.” SAC

 ¶ 40(3). She then further speculates that black, Latino, and Native American applicants will have

 “more credible applications because they will automatically have an extra $10,000 in startup

 capital.” SAC ¶ 40(4). This theory of injury fails as well.

        As explained above, neither race nor the diversity grant plays any role in the DSP selection

 process. Mikhail Decl., Ex. A, ¶ 12. The DSP application materials estimate $10,000 in start-up



    7
       Plaintiff’s invocation of the Declaratory Judgment Act (SAC ¶ 42) does not change the
 analysis, as declaratory relief still requires a plaintiff to show an “actual controversy,” 28 U.S.C.
 § 2201(a)—a requirement that is not met if “the purported injury is ‘contingent [on] future events
 that may not occur as anticipated, or indeed may not occur at all.” Lopez v. City of Houston, 617
 F.3d 336, 341 (5th Cir. 2010) (cleaned up).


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 costs and require applicants to demonstrate access to $30,000 in liquid assets to provide a cushion

 for personal expenses while the owner is training and launching the business. Ex. B (“Financials—

 If the start-up cost is estimated to be $10,000, why is the liquid asset requirement $30,000?”); see

 also Ex. D. Eligibility for the diversity grant does not reduce the liquid-asset requirement. Mikhail

 Decl., Ex. A, ¶¶ 12, 17. From the perspective of a facial attack, her allegation that minority

 applicants will be viewed as having “more credible applications” is purely speculative and

 conclusory and not based on any well-pleaded facts. From the perspective of a factual attack, the

 allegation is simply wrong.

        That leaves Plaintiff with the speculative theory that she is harmed because the grant may

 attract additional applicants, who would then compete with plaintiff on the merits in the race-

 neutral selection process. Mikhail Decl., Ex. A, ¶ 12. Even if the purpose of the grant is to attract

 additional, qualified candidates, there is no “competitive disadvantage” to Plaintiff based on her

 race because all applicants, regardless of race, would face the same increase in competition.

 Moreover, Plaintiff’s requested remedy includes “extending the $10,000 benefit to whites and

 Asians” (SAC ¶ 41), which presumably would only further increase the applicant pool. And

 Plaintiff’s theory of injury directly contradicts her allegation elsewhere in the complaint that, if

 she applied, she would be selected. SAC ¶ 29.

        In all events, any such injury remains purely speculative and “contingent on innumerable

 suppositions.” Trinity, 963 F.2d at 799. Even if the diversity grant did attract more applicants to

 the general pool, it would affect her only to the extent that she was otherwise able to pass through

 the multiple rounds of interviews and identify a suitable location, but lose the opportunity to

 someone who would not otherwise have applied. Given that Plaintiff has voluntarily chosen not




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 to apply, there is no way to know whether this hypothetical chain of events would ever come to

 pass.

         Ultimately, because Plaintiff is voluntarily unwilling to apply for a DSP contract—despite

 having no actual barrier to engaging in the process—she stands in the same position as any other

 member of the public who may view Amazon’s grant program as contrary to the law but who is

 not directly affected by it. See Carney, 141 S. Ct. at 499 (“[A] plaintiff cannot establish standing

 by asserting an abstract ‘general interest common to all members of the public,’ . . . ‘no matter

 how sincere’ or ‘deeply committed’ a plaintiff is to vindicating that general interest on behalf of

 the public.”) (quoting Hollingsworth v. Perry, 570 U.S. 693, 706–07 (2013)); Lujan, 504 U.S. at

 573–74 (collecting cases concluding that “raising only a generally available grievance about

 government—claiming only harm to his and every citizen’s interest in proper application of the

 Constitution and laws, and seeking relief that no more directly and tangibly benefits him than it

 does the public at large—does not state an Article III case or controversy”). The Court should

 reject Plaintiff’s attempt to manufacture standing for herself by expanding Supreme Court

 jurisprudence beyond its limits. Further, because Plaintiff has already had multiple opportunities

 to amend and cannot cure the fundamental defects identified above, her complaint should be

 dismissed with prejudice.

 II.     The Complaint Should be Dismissed Because Plaintiff Fails to State a Claim
         Upon Which Relief May Be Granted.

         Even if Plaintiff’s conclusory allegations were sufficient to plead Article III standing, they

 are insufficient to show that racial discrimination was a but-for cause of Plaintiff suffering any

 injury, which is required to state a claim under § 1981. This failure independently requires

 dismissal under Rule 12(b)(6). See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (articulating legal

 standard for Rule 12(b)(6) motion to dismiss); see also supra at pp. 9–10 (same).



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        To state a § 1981 claim, “a plaintiff must initially plead and ultimately prove that, but for

 race, [she] would not have suffered the loss of a legally protected right.” Comcast Corp. v. Nat’l

 Ass’n of African Am.-Owned Media, 140 S. Ct. 1009, 1019 (2020). Thus, the plaintiff “has the

 burden of pleading facts that, taken as true, permit the Court to infer that race was a but-for cause

 of [her] injury.” Simmons v. Triton Elevator, LLC, No. 3:19-CV-1206-B, 2020 WL 7770245, at

 *3 (N.D. Tex. Dec. 30, 2020) (internal quotation marks omitted).

        As the case law further reflects, the plaintiff “must establish the loss of an actual, not

 speculative or prospective, contract interest,” which requires “offer[ing] evidence of some tangible

 attempt to contract” that “was in some way thwarted” by the defendant. Morris v. Dillard Dep’t

 Stores, Inc., 277 F.3d 743, 751–52 (5th Cir. 2001). “[A] § 1981 claim must allege that the plaintiff

 was actually prevented, and not merely deterred, from making a purchase or receiving service after

 attempting to do so.” Id. at 752 (quoting with approval Henderson v. Jewel Food Stores, Inc., No.

 96 C 3666, 1996 WL 617165, at *3 (N.D. Ill. Oct. 23, 1996)). Thus, “merely alleg[ing] possible

 loss of future opportunities” to enter into a contract is not enough. Phelps v. Wichita Eagle-

 Beacon, 886 F.2d 1262, 1267 (10th Cir. 1989) (emphasis in original). Where the plaintiff “points

 to no contract that [s]he bid on and failed to obtain because of racial animus,” the claim must be

 dismissed. Smart v. Int’l Broth. of Elec. Workers, Loc. 702, 315 F.3d 721, 726 (7th Cir. 2002)

 (emphasis added).

        Plaintiff cannot show that her race is a but-for cause of not receiving the diversity grant

 because she is not a DSP owner, and only DSP owners are eligible for that grant. SAC at 1; see

 also id. ¶ 57(b). The but-for cause of her not receiving a grant is that she is not a DSP owner, as

 opposed to anything related to her race. Further, because Plaintiff voluntarily chose not to apply,

 she cannot show that she was actually prevented from obtaining a DSP contract due to her race.




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 At most, she alleges that she was deterred from applying and has thereby suffered a hypothetical

 loss of a future opportunity to become a DSP owner and receive a grant. Even if such allegations

 were sufficient for Article III standing (and they are not), the allegations are insufficient to plead

 the but-for causation required to state a claim under § 1981. Because Plaintiff does not and cannot

 state a claim upon which relief may be granted, the Court should dismiss the Complaint even if

 the Court had the power to decide this dispute.

                                           CONCLUSION

        For the foregoing reasons, Amazon respectfully requests that the Court grant Amazon’s

 motion and dismiss Plaintiff’s Second Amended Class-Action Complaint with prejudice. Amazon

 further respectfully requests such further relief to which it may be justly entitled.




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 Dated: March 24, 2023

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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing document

 has been served on all counsel of record in accordance with the Federal Rules of Civil Procedure

 and this Court’s CM/ECF filing system on March 24, 2023.

                                                    /s/ Natali Wyson
                                                    Natali Wyson




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